Case 2:22-cv-07326-MCA-LDW Document 291-20 Filed 01/31/24 Page 1 of 22 PageID: 10140




                             Exhibit 14.20
                     United States’ Motion to Enter Consent Decree,
         United States v. Alden Leeds, Inc. et al., Civil Action No. 22-7326 (D.N.J.)
Case 2:22-cv-07326-MCA-LDW Document 291-20 Filed 01/31/24 Page 2 of 22 PageID: 10141




                  EXHIBIT A-62
          AppendixA to OxyChem's Comments in Opposition to Proposed Consent Decree,
           United States v. Alden Leeds, Inc., et al., Civil Action No. 2:22-cv-07326 (D.Nj.)




                                                                                            ALCD-PUBCOM 0007326
Case 2:22-cv-07326-MCA-LDW Document 291-20 Filed 01/31/24 Page 3 of 22 PageID: 10142




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                                                             Ji
                                                                  `GG-P IT00021


                                                                    OCC-TIG-EO0814191
                                                                         ALCD-PUBCOM 0007327
Case 2:22-cv-07326-MCA-LDW Document 291-20 Filed 01/31/24 Page 4 of 22 PageID: 10143

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                                                                                                                                   §P i
                                                                      Sa/                                                ,~ ~pM ~;k •    ;r:     ,1
                      lanpnn,:vwd
                                                             Slats of New Jersey
                                                    Department of Environmental Protection
                                                 Return forms to:                                                r
                                                      INDUSTRIAL SURVEY PROJECT
                                                      P.O. BOX 251
        OFFICE OF THE COMMISSIONER                    TRENTON, NEW JERSEY 08602
                                                                                                            SELSUB     008 0308
                                                  SELECTED SUBSTANCE REPORT
        PART I - General Plant Information
        COMPLETE           E RE_PORTpR EACH PLANT SITE OR FACILITY
                                                                                LOCATION
                                                                T1t
        1. Company Name' Pitt --Consul Chemical                             y     iyisitrr
        2. Division or Plant Name         AT

        3. Mailing Address (Street)     191 Doremus Avenue

            (City/Town)                 Newark                                          Essex
                                                                         County                      State       NJ    Zip Code 07105
        4. Plant Location Address (Street)—..
           (if not as above)
           (City/Town)                                                    County                  ....State.,          Zip Code;
        5. Date Plant Began Operations At This Location            ~ —19 00

        6. Person to Contact Regarding this Report     W. F.     Revelt                      Title Senior            Process          Engineer

        7. Phone Number (Area Code) (201)         344-3800 Ext.          46

        8. SIC Code (Four Digit)               2865          Standard Industrial Classification (if available)

        9. Nature of Business        Manufacture of Alkylate& Pje_Maj~

       ID. Number of Production Employees at this Plant Site

       it. Does this plant manufacture, process, form, repackage, release, use, dispose of or store any of the selected substances
           shown on Table I of the enclosed instructions? (Check One) YES (X { NO [l
            If your answer to number 11 is "YES", complete the Entire Report for your facility, sign and return.

            If your answer to number 11 is "NO", complete Question 15, sign and return.


       , HEREBY, CERTIFY THAT ALL STATEMENTS MADE BY ME IN THIS REPORT ARE TRUE, COMPLETE AND CORRECT
       10 THE BEST OF MY KNOWLEDGE AND THAT ESTIMATES WHERE USED HAVE BEEN MADE IN GOOD FAITri.

        NAME (Print)                Harry D. Garrison                  Signature.                      Gam✓. / r1.,, .L._.

                                    Plant Manager                                                           October 8, 1980
        Title                                                                                   Date

       12A. Sketch (On the reverse side of this page) or attach a copy of a map Indicating the exact location of the plant site,

       12B. Supply your Dun & Bradstreet number if available. __Not- Avg M 1 able

                                                        FOR OFFICIAL USE ONLY

        E .573                             s       ~g 6__                           N 't -C 3J
        B    5   C)                        0     l ' 1Y 7
                                                                                    X
        cm
        V                                                                       D &B                                        ..,
                                                                                             O          i                         Y


                                            1L323700         58                     100          2865
                                            PITT-CONSUL CHEMICAL
                                            COMPANY
                                            191 OORCMUS AVE
                                            NEWARK N J                                       07105



                                               NEWARK NJ                                                         G-PIT000213


                                                                                                                           OCC-TIG-EO0814192
                                                                                                                              ALCD-PUBCOM 0007328
    r
Case 2:22-cv-07326-MCA-LDW Document 291-20 Filed 01/31/24 Page 5 of 22 PageID: 10144
        Forrn,COM1.021 A
        nev. 21.30         -                                                         ? •;   .1
                                                                                             .-r.'D




                               I.r.pnw.rcLA
                                                                            State of Nev; Jersey
                                                                    Department of Environmental Protection
                                                               Return forms to:
                                                                     INDUSTRIAL SURVEY PROJECT
                                                                     P.O. BOX 251
          OFFICE OF THE COMMISSIONER                                 TRENTON, NEW JERSEY 08602

                                                                SELECTED SUBSTANCE REPORT                                               SELSUB      008 0309

          PART I - General Plant Information
          COMPLETE ONE REPORT FOR EACH PLANT SITE OR FACILITY
                                                                                                           LOCATION
          1. Company Name                 Pitt-Consol          Chemical          Company               (Divisiol
          2. Division or Plant Name                     NA

          3. Mailing Address (Street)                 191 Doremus Avenue

              (City/Town)                             Newark                                                    Essex
                                                                                            County                         State        NJ      Zfp Code 07105
          4. Plant Location Address (Street)                             .
              (if not as above)
             -(City/Town)                                                                    County                        State                Zip Code
          5. Date Plant Began Operations At This Location                       PRE-1900

          6. Person to Contact Regarding this Report                  W. F.       Revelt                              Title Senior           Process      Engineer
          7. Phone Number (Area Code) (201) 344-3800                              Ext.      46

          8. SIC Code (Four Digit)                          2865               Standard Industrial Classification (if available)

          9. Nature of Business                Manufacture          of       Alkylated         Phenols

        10. Number of Production Employees at this Plant Site                                         79

        11. Does this plant manufacture, process, form, repackage, release, use, dispose of or store any of the, selected
            shown on Table I of the enclosed instructions? (Check One) YES                                                substances
                                                                                      NO D
              It your answer to number 11 is "YES", complete the Entire Report for your facility, sign and return.

              If your answer to number 11 is "NO", complete Question 15, sign and return.                                                                           -

        1, HEREBY, CERTIFY THAT ALL STATEMENTS MADE BY ME IN THIS REPORT ARE TRUE, COMPLETE AND
                                                                                                CORRECT
        TO THE BEST-OF MY KNOWLEDGE AND THAT ESTIMATES WHERE USED HAVE BEEN MADE IN GOOD FAITrt.

          NAME (Print)                        Harry    D. Garrison                       Signature                      _G.=~

                                              Plant    Manager
          Title                                                                                                         Date       October       8,    1980

        12A. Sketch (On the reverse side of this page) or attach a copy of a map indicating the exact Location of the
                                                                                                                                                      plant site.
        12B. Supply your Dun & Bradstreet number If available.

                                                                         FOR OFFICIAL USE ONLY

          E       S'            3 S                     S     19j8            151                           N                  g
          B19 0 131                                     0       j    `( . ~
                                                                                                            A
                                                                                                            XL I I I H                           I Li
          V ®3
                       •
                                                                                                      D & B {~
                                                                                                            Lt          t—1        fi
                                                                                                                                   t    i     l l
                                                        11323700          58                                100         286, 51
                      L`        G1J'                    PITT—CONSUL CHEMICAL
                     .                                  COMPANY
                                 `   ~
                                  bQ                    191 D7..crtOS AVE
                                                        NEWARK N J                                                 07105


                                                         NEWARK NJ                                                                          G-PIT000214


                                                                                                                                                      OCC-TIG-EO0814193
                                                                                                                                                            ALCD-PUBCOM 0007329
Case 2:22-cv-07326-MCA-LDW Document 291-20 Filed 01/31/24 Page 6 of 22 PageID: 10145

                                                                                               SELSUB   008 0310         FOR DEP
                                                                                                                       _ USE ONLY ..
      PA Cl I - benerol Intormation (continued)                                                                                J
                                                                                                                   O       O
       13. List all of the selected substances Included in this report along with their GAS Numbers (From
           Table I of the Instructions) which are manufactured, processed, formed, repackaged, released.
           used, disposed of or stored at the plant site:              -
                       CHROMIUM                                     CAS # 7440-47-3                            .
                                                                                                                   -   :
                       ZINC                                                       7440-66-6

                      POLYCHLORINATED BTPHFNvrs                                  11097 69 1

                       1 1 1-TRICH OROETHAN                                          71 55 6

                      PHENOL                                                      108-95-2

                       2.4-DYMETHYLPHENOL                                         105-67-9

                       IlRRFGTng           - .                                    V12-21.-4.

                       TOLUENE                                                    108-88-3




      14. ;Wastewater Discharges -Complete the following information:

           A. Discharge to publicly owned treatment works (POTW):                      -
               1. Name of Utility (POT1J) Passaic       Valley        Sewerage Commission                          Q Q aZL 0         1
                  Address/Location     600 Wilson Avenue,                   Newark     N T
               2. Estimated Average Volume of Wastewater Dischargad.to POTW in a day.
                                   140 000                                                              .                  O
                                                           'gallons.: .
              .3. Briefly describe any pretreatment methods           oil    skimmirig'




               4. Wastewater consists of: (x) Process. Water, ( ,)Contact Cooling, (x)Non-Contact
                  Cooling, (X) Domestic Sewage, (x') Contaminated Storm Water, (x) Washdown Water,.
                      Scrubber Water, ( ) Other;
           B. Discharge to Navigable Waterway or Tributary Stream;           -             -
               1. Name of Receiving Stream                        NA
               2. NPDES Permit Number
               3. Estimated average volume of wastewater discharged to receiving stream Ina day

                                                           gallons.
               4. Briefly describe any treatment methods                                       -


               5. Wastewater consists of: ( )Process Water, ( )Contact Cooling, ( ) Non-Contact
                  Cooling, ( ) Domestic Sewage, ( ) Contaminated Storm Water, ( ) 'Washdown Water,
                  ( ) Scrubber Water, ( ) Other;  -
      15. Previous disposal practices (1930-1977). Has this plant previously disposed of wastes containi ng any of the selected
          substances at any land dispcsat site (i.e. by land spreadi ng or burial, ►andfilling. lagoon or seepage pit) either
          off site?                                                                                                           on or
                                  Q1                                                                         ç3
                              YES j       NO E
           If available provide the following information for each disposal site. Use additional pages if necessary.

           Name and Location of Site     We assume we have but records are unavailable



           Time period site was used

           Name of selected substances                                    Physical                      Amount of selected s ubs tance
           disposed of at this site                                        State                        disposed at site (pounds)




                                                                                                            C-PIT0l0715


                                                                                                                           OCC-TIG-EO0814194
                                                                                                                                   ALCD-PUBCOM 0007330
Case 2:22-cv-07326-MCA-LDW Document 291-20 Filed 01/31/24 Page 7 of 22 PageID: 10146
         Fwm COM-021 5
         Rev. 2t80
                                                                                                                                               4ar••a...w
                                                                   State of New Jersey                  Page   1        of    8                  Pie, 1
                                                           Department of Environmental Protection
        PART 11                                        SELECTED SUBSTANCE REPORT                                                                   y:
        COMPLETE ONE FOit).( FOR EACH
                                            SELECTED SUBSTANCE
                                                                                                         SELSUB 008 0311 _
        1. Name and Location or Plant -.-                                                                                                  FOR DEP USE
                                                   .                                                                              1.C1.
           Pitt-Consol       Chemical Co., 191 Doremus Avenue Newark,
        2. Selected Substance Name                                    NJ                                                            050 I Z
                                                          CAS k
                                    CHRO`9I                                                                                               11
        3. Briefly Descrioe Its Use On The Site:                                ?440-47-3                                (~         r7     0            ~]

                CHROMIC. ACID IS. CONTAINED IN A RUST
                INGREDIENT WHICH IS AN ADDITIVE TO
                                                      REMOVING/RUST PREVENTIVE
                                                     THE PLANT NON-CONTACT
                                                                                                                                          S-   9
                COOLING WATER SYSTEM.




             COMPLETE THE FOLLOWING INFORMATION
                                                                                                                                                   I CHECK O:
                                                               I              ENTER THE ACTUAL
              FOR THE PLANT BASED ON 1978 USAGE                                                                               USE THE RE-   ACT. ES
                                                                             OR ESTIMATED AMOUNTS                            QUESTED UNITSI UAL MA
              4. QUANTITY PRODUCED ON SITE
                                                                                     NA       0 0 ©0                          Ibs/yr.
         w
              5. QUANTITY BROUGHT ONTO SITE.
    ~i;                                                                              594                                      Ibs/yr.                X:
    ~z
    oe        6. QUANTITY CONSUMED ON SITE
    z4                                                                               NA       0 .0 0 0                        Ibs/yr.
    }         7. QUANTITY SHIPPED OFF SITE
                 AS (OR IN) PRODUCT
                                                                                     NA        000 O -                        is/yr.
              8. MAXIMUM INVENTORY
                                                                                                                              lbs
                                                                                     297                                                             X .
              9. TOTAL STACK EMISSIONS OF                                            NA        000 0 -
                 SELECTED SUBSTANCE                                                                                           Ibs/yr.
        7
                                                                                     NA       000 G                           max Ibs/day

        w     10. TOTAL FUGITIVE EMISSIONS OF                                                             ©
                                                                                                    0                         Ibs/yr.
                  SELECTED SUBSTANCE
                                                                                    NA        CO6 0                .          taut Ibs/day

              11. TOTAL DISCHARGE OF SELECTED                                                   COO?                          Ibs/yr.
    cc CO         SUBSTANCE INTO SURFACE WATER
    4<                                                                                                                        max Ibs/day
    wx                                                                                          co
    ao       12. TOTAL DISCHARGE OF SELECTED-
                 SUBSTANCE INTO PUBLICLY OWNED
                 TREATMENT WORKS               -
                                                                                     594                                 I tbs/yr.
                                                                                                                              maxlbs/day
                                                                                    4 4
             uwrwn~.. vr- ItilJ I t= C.UN I AIMING _I HE SELECTED SUBSTANCE

                  LOCATION OF FINAL                    PHYSICAL . DISPOSAL           QUANTITY OF SELECTED
                    DISPOSAL SITE   -                   STATE     METHOD              SUBSTANCE DISPOSED
                  NAME AND ADDRESS                     TABLE A    TABLE B                    (Ibs)                                         FOR DEP USE


     1.           NA                                   -



    2.




    3.




    4.




             TABLE A
         PHYSICAL STATE'        -   --                                               TABLE B
         W-01 Solid
                                                                                DISPOSAL METHODS
                                                   M-01 Composting              M-07 Land Burial
         W-02 Liquid                                                                                                   M-13 Surface, Water
                                                   M-02 Evaporation             M-08 Land Spreading
         W-00 Slurry                                                                                                   M-14 Subsurface System
         W-04 Sludge                               M-ca Holding Tank            M-09 Neutralization
                                                   M-04 Incineration                                                   1;1-15 Pyrolysis
         W-09 Other (specify)                                                   M-10 Ocean                                                 on
                                                   LI-05 Injection Well         1,1-11 Recycling                       M.1) Stored
                                                                                                                               to    On Site
                                                   U-06 Lagoon                  M-12 Sanitary Landfill                  -l-9a Other (specify)
                                                                                                                                         OCC-TIG-EO0814195
                                                                                                                                               ALCD-PUBCOM 0007331
Case 2:22-cv-07326-MCA-LDW Document 291-20 Filed 01/31/24 Page 8 of 22 PageID: 10147
         Form COM-021 S
         Rev. 2/80

                                                                State of New Jersey               pare      2         of      8
                                                        Department of Environmental Protection
      PART 11                                           SELECTED SUBSTANCE REPORT                  SELSUB            008 0312
      COMPLETE ONE FORM FOR EACH SELECTED SUBSTANCE
                                                                                                                                         FOR DEP USE
      1. •Name and Location of Plant ... ,•
                                                                                                                                  I.D-
             Pitt—Consol Chemical Co., 191 Doremus" Avenue, Newark, NJ
      2. Selected Substance Name
                                                                               CAS N

                                                                                440-6-6                             JL              71+4
      3- Briefly Descrioe Its Use On The Site:

                   ZINC IS CONTAINED IN A RUST REMOVING/RUST
                                                             PREVENTIVE
                   INGREDIENT WHICH IS AN ADDITIVE TO THE PLANT
                                                                NON--CONTACT
                   COOLING WATER SYSTEM.



                                                                                                                                                     CHECK O
             COMPLETE THE FOLLOWING INFORMATION
              FOR THE PLANT BASED ON 1978 USAGE                             ENTER THE ACTUAL                                  USE THE RE-
                                                                           OR ESTIMATED AMOUNTS                                            ACT.                               E;
                                                                                                                             QUESTED UNITS UAL                               (A/
              4. QUANTITY PRODUCED ON SITE
     1- N                                                                          NA             (7 a (7                     lbs/yr.
     =t'W-    S. QUANTITY BROUGHT ONTO SITE.
     t1t-                                                                          346                                        lbs/yr.
     oz
     oa       6. QUANTITY CONSUMED ON SITE
                                                                                   NA               ©                         Ibs/yt.
                                                                                                        O
              7. QUANTITY SHIPPED OFF SITE -
                 AS (OR IN) PRODUCT
                                                                                   NA                       -                 ibs/yr-
              8. MAXIMUM INVENTORY
                                                                                   173                                        Ibs
                                                                                                                                                           X
              9. TOTAL STACK EMISSIONS OF                                          NA            000                          Ibs/yr.
         ?       SELECTED SUBSTANCE
                                                                                                    pv          .             max Ibs/day
         o
              10. TOTAL FUGITIVE EMISSIONS OF                                                    ()p U                        Ibs/yr.
                  SELEGTEOSUBSTANCE •
                                                                                                 c c2 0                       max ibs/day

              11. TOTAL DISCHARGE OF SELECTED                                                                                 ibs/yr.
     cc
     ujui         SUBSTANCE INTO SURFACE WATER
     u-o
     Wes .                                                                                                                    max lbs/day
                                                                                                    00

         o    12. TOTAL DISCHARGE OF SELECTED
                  SUBSTANCE INTO PUBLICLY OWNED
                  TREATMENT WORXS .
                                                                                                                              Ibs/yr.

                                                                                                                              maxlbs/day

     13. DISPOSAL OF WASTE CONTAINING THE SELECTED SIJBSTANC~---/r

                   LOCATION OF FINAL                    PHYSICAL    DISPOSAL        QUANTITY OF SELECTED
                     DISPOSAL SITE           -           STATE      METHOD           SUBSTANCE DISPOSED
                   NAME AND ADDRESS                     TABLE A     TABLE 13                (Ibs)                                        FOR DEP USE


     1.         IdA.                                                   -



     2.


     3.



     4.
                                  ..              ..5
                                                                                                                                            .   --   -..   -   .




                                                                                                                                                                   .   55.




     5                                                                              -



               TABLE A
          PHYSICAL STATE -                                                          TABLE a
                                                                               DISPOSAL METHODS
          W-01 Solid                             M-01 Composting               M-07 Lend Burial                      M-13 Surface Water
          W-02 Liquid                            M-02 Evaporation              M-08 Land Spreading                   M-14 Subsurface System
          W-03 Slurry                            M.tt1 Holding Tank            M-09 Neutralization
          W-04 Sludce                                                                                                111-t
                                                 M-04 incineration             M-10 Ocean                            1   s,, Pyrolysispa
          V/-09 Other (specify)                  M-O5 Injection Well           M-I1 Recycling                        I4P1rt ~ESttl bite
                                                 M-06 Lagoon -                 M-12 Sanitary Landfill                N-90 Diner (specify)

                                                                                                                                     OCC-TIG-EO0814196
                                                                                                                                           ALCD-PUBCOM 0007332
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      FormCOM•0213                                               -                                                                       -      - -       -
      Rev.2180
                                                                                                    Page                        8
                                                             State ot NeW Jersey                                        of
                                                     Department ct Environmental Protection
      PART 11                                      SELECTED SUBSTANCE REPORT                         SELSUB              008 0313
     COMPLETE ONE FORM FOR EACH SELEC- ED SUBSTANCE
     1- Name and Location of Plant ...                                                                                                        FOR DEP USE
                                       -,
                                                                                                                                 1.0. •           - -
                                                                                                                                             t- __
     2. Selected Substance Name     -                                   -     CAS N
             POLYCHLORINATED BIPHENYLS
                                                                              -11097-69-1                               (}            ! IO(I
     3. Briefly Descrioe Its Use On The Site:                                                                   -

                2,140 POUNDS OF PCB CONTAMINATED OIL IS PRESENT IN ONE
                                                                       OF
                THE PLANT TRANSFORMERS.




                                                                                                                                                      CHECKOI
             COMPLETE THE FOLLOWING INFORMATION                              ENTER THE ACTUAL
              FOR THE PLANT BASED ON 1978 USAGE                                                                              TJSE THE RE-    ACT-             ES
                                                                            OR ESTIMATED AMOUNTS                              IQUESTED UNITS UAL              MA
              4. QUANTITY PRODUCED ON SITE
                                                                                               000                             lbs/yr.

         F    5. QUANTITY BROUGHT ONTO SITE.

               6. QUANTITY CONSUMED ON SITE
                                                       .
                                                                                      NA
                                                                                                                               lbs/yr.

     0'
                                                                                      NA         O©                            lbs/yr.
     ~~       7. QUANTITY SHIPPED OFF SITE                                       -
                 AS (OR IN) PRODUCT                                                                         -                  lbs/yr.
              8. MAXIMUM INVENTORY
                                                                                                                               Ills

               9. TOTAL STACK EMISSIONS OF                                                     0000                            lbs/yr.
                  SELECTED SUBSTANCE
                                                                                                                               max ibslday
     ao                                                                              N,              C'C7
              10. TOTAL FUGITIVE EMISSIONS OF                                                  p     pd                        Ibs/yr.
                   SELECTED SUBSTANCE
                               ..      -               -
                 •
                                                                                     y.m       O©©p                 -    -     max lbs/day

              11. TOTAL DISCHARGE OF SELECTED "                                                                                lbs/yr.
    wtu
    }-ty          SUBSTANCE INTO SURFACE WATER
     3a                                                                              NA                                        max lbs/day
     td=                                                                                       OrTO
     r- N
     Q_       12. TOTAL DISCHARGE OF SELECTED-                                       NA                                        lbs/yr.
                  SUBSTANCE INTO PUBLICLY. OWNED                                                                                   y
                  TREATMENT WORKS .
                                                                                     NA                                        max lbs/day
                                                                                                0
     13. DISPOSAL OF WASTE CONTAINING THE SELECTED SUBSTANCE
                  LOCATION OF FINAL                 PHYSICAL         DISPOSAL        QUANTITY OF SELECTED
                    DISPOSAL S1TE                    STATE            METHOD          SUBSTANCE DISPOSED
                  NAME AND ADDRESS                  TABLE A          TABLE 8                                                                 FOR DEP USE
                                                                                             (Ibs)

     1.               NA



     2.



     3.



     4.



     5




               TABLE A                                       •                        TABLE 13
          PHYSICAL STATE- -       '   -'   • •                                  DISPOSAL METHODS
          W-Ot Solid                             M-01 Composting
          V!-02 Liquid                                                          PA-07 Land Burial                       Itt-13 Surface Water
                                                 M-02 Evaporation               M-03 Land Spreading                     M-14 Subsurface System
          W-03 Slurry                            M-00 Holding Tank              M-09 Neutralization
          W-04 Sludge                            M-04 incineration                                                      Itt-15 Pyrolysis
                                                                                M-10 Ocean                                              7 ion
          Y1-09 Other (specify)                  M OS Injection Well            b1-11 Recycling                             y~~@®
                                                                                                                            57 Stored On SHe
                                                 M Lagoon                       M-12 Sanitary Landfill                  M-93 other (specify)
                                                                                                                                       OCC-TIG-EO0814197
                                                                                                                                                ALCD-PUBCOM 0007333
                   r
                                                 - ,~                                                       .
          t  r
Caseyam^2:22-cv-07326-MCA-LDW Document 291-20 Filed 01/31/24 Page 10 of 22 PageID:
   I&n COM-021 B
   Rev. 2/80                         10149
                                                           State of New Jersey               page          Ot    $
                                                  Department of Environmental Protection
   PART II                             SELECTED SUBSTANCE REPORT                                                                 OM -,;
                                                                                                 SELSUB    008 0314           _ _ir
   COMPLETE ONE FORM FOR EACH SELECTED SUBSTANCE                                                                               FOR DEP USE
   1. Name and Location of Plant ... .                                                                               1.0.
      Pitt-Consol        Chemical      Co..     19)                     nnao         Nvura rlr        MT                  6   JOI       )'
   2. Selected Substance Name                                           CAS #
      1,1,1     - TRICHLOROETHANE                                       71-55-6                                       1                      55
   3. Briefly Descrioe Its Use On The Site:

                          USED IN MAINTENANCE SHOP AS DEGREASER.
                                                                                                                                        17




                                                                                                                                             CHECK ONE
            COMPLETE THE FOLLOWING INFORMATION                        ENTER THE ACTUAL                           USE THE RE-  ACT-                ESTI
             FOR THE PLANT BASED ON 1978 USAGE                       OR ESTIMATED AMOUNTS                       QUESTED UNITS UAL                 MATI

              4. QUANTITY PRODUCED ON SITE                                     NA          OG0                   lbs/yr.
   0- y
              5. QUANTITY BROUGHT ONTO SITE                                                                      Ibs/yr..
  OP                                                                           650
  Z)z
  oa          6. QUANTITY CONSUMED ON SITE                                     NA          (j©O-                 Ibs/yr.
  zo
              7. QUANTITY SHIPPED OFF SITE
                 AS (OR IN) PRODUCT                                                        (;j©                 - Ibs/yr.
                                                                               NA
              8. MAXIMUM INVENTORY                                                                               lbs
                                                                                                                                             X
              9. TOTAL STACK EMISSIONS OF                                                   ©00                  ibs/yr.
                 SELECTED SUBSTANCE
  ~o                                                                                       (gbp                  maxlbs/daY
                                                                               NA
             10. TOTAL FUGITIVE EMISSIONS OF                                                                     lbs/yr.
                 SELECTED SUBSTANCE
                                                                                                                                                      x
                                                                               0.5                               max ibs/day
                                                                                                                                                      X

             11- TOTAL DISCHARGE OF SELECTED                                                                     Ibs/yr.
  w              SUBSTANCE INTO SURFACE WATER
  aaa                                                                                                            max lbs/day
   W
       U
   w ul      12. TOTAL DISCHARGE OF SELECTED-                                                                    lbs/yr.
     c           SUBSTANCE INTO PUBLICLY OWNED                                                    0
                 TREATMENT WORKS
                                                                                                                 max ibs/daY
                                                                               NA                ~d
   13. DISPOSAL OF WASTE CONTAINING THE SELECTED SUBSTANCE
                   LOCATION OF FINAL              PHYSICAL     DISPOSAL        QUANTITY OF SELECTED
                     DISPOSAL SITE                 STATE       METHOD             BSTANCE DISPOSED                                            P USE
                   NAME                           TABLE A      TABLE                   (Ibs)
                                                                            50 1 s. (burned in
   1.Pitj Consol Chemical Co.                    W-02           M--98        - era for heat
     Ne  rkr NJ                                                             ecovery).


   2.
                         _. -
                                                                                                                7,            ^     r




   3.



   4.



   5                                                                           .



               TABLE A                                                         TABLE B
           PHYSICAL STATE                                                 DISPOSAL METHODS
           W-01 Solid                          M-01 Composting            M-07 Land Burial
           V/-02 Liquid                                                                                     M-13 Surface Water
                                               M-02 Evaporation           M-08 Land Spreading              M-14 Subsurface System
           W-03 Slurry                         U-OS Holding Tank          M-09 Neutralization              M-15 Pyrolysis
           W-04 Sludge                         M-04 Incineration          M-10 Ocean                       54-16 Spray Irrigation
           W-09 Other (specify)                M-05 injection Well        M-11 Recycling                   !M17 Stored On Site
                                               PA-05 Lagoon               M-12 Sanitary Landfill           )         t~       ikwy)


                                                                                                                              OCC-TIG-EO0814198
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   r'o.m COM-021 B                10150
   Rev. 2180
                                                                                         Page    5      of   8
                                                       State of New Jersey
                                               Department of Environmental Protection
  PART it                                      SELECTED SUBSTANCE REPORT                  SELSUB        008 0315
  COMPLETE ONE FORM FOR EACH SEt-FCTFn SmIRSTANCF                                                                        FVD nco tiev
  1- Name and Location of Plant ... . :_. . .._                                                                  I.D.
    Pitt-Consol Chemical Co., 191 Doremus Avenue, Newark, NJ                                                            O ✓(-U1a
  2. Selected Substance Name                 CAS it
     PHENOL                                  108-95-2                                                 0 ,           ko S
  3. Briefly Describe Its Use On The Site:
            PHENOL IS PURCHASED AS A RAW MATERIAL USED IN THE                                                               _I
            MANUFACTURE OF VARIOUSALKYLATED PHENOLS.


                                                                                          V7                                     .      .



                                                                                                                              CHECK ONE
        COMPLETE THE FOLLOWING INFORMATION
         FOR THE PLANT BASED ON 1978 USAGE
                                                                    ENTER THE ACTUAL
                                                                   OR ESTIMATED AMOUNTS    Gr 7 QUESTED
                                                                                                 USE THE faE- ACT- ESTI-
                                                                                                        UNITS UAL MATE

           4. QUANTITY PRODUCED ON SITE                                    NA            ©    1 Ibsfyr.
           5. QUANTITY BROUGHT ONTO SITE                                                                     Ibsfyr.
                                                                                                                                 X
  oa       6. QUANTITY CONSUMED ON SITE                                                                      lbs/yr.             X
  iv'
  -        7. QUANTITY SHIPPED OFF SITE
              AS (OR IN) PRODUCT                                                                             Ibsfyr. .:

           8. MAXIMUM INVENTORY                                                                              Ills


           9. TOTAL STACK EMISSIONS OF                                                    t   500,000        Ibs/yr.
              SELECTED SUBSTANCE
   z                                                                                                         max Ibs/day
  aQ                                                                                             O 17

          10. TOTAL FUGITIVE EMISSIONS OF                                                                    lbs/yr.
              SELECTED SUBSTANCE
                                                                                                             wax lbs/day


          11. TOTAL DISCHARGE OF SELECTED                                                                    @sfyf.
                                                                          NA
  m0          SUBSTANCE INTO SURFACE WATER
  ¢cc                                                                                                        max lbs/day
  5<                                                                       NA
  tUZ
  N°J     12_ TOTAL DISCHARGE OF SELECTED-                                                                   Ibs/yr.
              SUBSTANCE INTO PUBLICLY OWNED                                303,000                                                          X
              TREATMENT WORKS                                                                                max tbsltiay
                                                                                3 500                                                       X
  13. DISPOSAL OF WASTE CONTAINING THE SELECTED SUBSTANCE
                 LOCATION OF FINAL             PHYSICAL      DISPOSAL       QUANTITY OF SELECTED
                   DISPOSAL SITE                STATE        METHOD          SUBSTANCE DISPOSED                           FOR. DEP USE
                 NAME AND ADDRESS              TABLE A       TABLE 8                (Ibs)
                                                                         Solidified spill
  1. pitt-Consol Chemical Co                   W-01          M-98        materials are re-
                                                                         melted and burned ;

                                                                         Remaining contamin -
  2                                                                      ed materials generated
                                                                         in 1978 were store                                          Rhn/

                                                                         disposa          t
                                                                                                 ~1



   4.



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              TABLE A                                                        TABLE B
        PHYSICAL STATE'                                                 DISPOSAL METHODS
        W-01 Solid                           M-o1 Composting            M-07 Land Burial                 M-13 Surface Water
        W-02 Liquid                          M-02 Evaporation           M-08 Land Spreading              M•14 Subsurface System
        W-03 Slurry                          M-03 Holding Tank          M-09 Neutralization              hi-is Pyrolysis
        1Y--04 Sludge                        M-04 Incineration          M-iO Ocean                       M-16 Spray irrigation
        VI-09 Other (specify)                M-05 Injection Well        M-11 Recycling                   M-17 Stored On Sit&
                                             M-06 Lagoon                M-12 Sanitary Landfill


                                                                                                                         OCC-TIG-EO0814199
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        PART II
                      -



        COMPLETE ONE FORM FOR EACH SELECTED SUBSTANCE
        1. Name and Location of Plant ... . . _ ;;:;, _ -
                                                                    State of New Jersey
                                                           Department of Environmental Protection
                                                          SELECTED SUBSTANCE REPORT
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                                                                                                                 SELSUB
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                                                                                                                                     LD.
                                                                                                                                                FOR DEP USE
                                                                                                                                                .
            P' tt-C      s                                                                                                            ''   (D
        2. Selected Substance Name                                                CAS #
            2,4 - DIMETHYL PHENOL                                                 105-67-9                              O a                  G5             7
        3. Briefly Descries Its Use On The Site:

                           ,.    2,4 - DIMETHYL--PHENOL IS A PRODUCT MANUFACTURED FROM THE                                                          —
                                 PROCESSING OF--ALKYLATING PHENOLS.




                                                                                                                                                        CHECK ONE
                    COMPLETE THE FOLLOWING INFORMATION
                     FOR THE PLANT BASED ON 1978 USAGE
                                                                 I              ENTER THE ACTUAL
                                                                               OR ESTIMATED AMOUNTS
                                                                                                                                  USE THE RE-   ACT-
                                                                                                                                 QUESTED UNITS' UAL
                                                                                                                                                                EST]
                                                                                                                                                                MATT

                      4. QUANTITY PRODUCED ON SITE                                                     x                           lbs/yr.                          X
                                                                                               L
                          5. QUANTITY BROUGHT ONTO SITE.                                           Q                               lbs/yr.
                                                                                          NA

     04                   6. QUANTITY CONSUMED ON SITE                                                                           ! lbs/yr.                                  '
                                                                                                   k       C I                                                      X
                          7. QUANTITY SHIPPED OFF SITE
                             AS (OR IN) PRODUCT                                                    A                               lbs/yr.

                          8. MAXIMUM INVENTOhY                                                     X                               Ibs


                          9. TOTAL STACK EMISSIONS OF                                      1           'OCI                        lbs/yr.
                             SELECTED SUBSTANCE
         x                                                                                                    t                    maxibs/day
       r_o                                                                                                 ~r0
                                                                                          NA
                     10. TOTAL FUGITIVE EMISSIONS OF                                                                               lbs/yr.
               w                                                                          R011
                         SELECTED SUBSTANCE
                                                                                                                                   max lbs/day


                      11. TOTAL DISCHARGE OF SELECTED                                     ~            cc 0                        Ibs/yr.
       sw
                          SUBSTANCE INTO SURFACE WATER
       <¢                                                                                                                          max lbs/day
                                                                                                       ©OO
        U
      uf2             12. TOTAL DISCHARGE OF SELECTED-                 V                                                           lbs/yr.
        fl                SUBSTANCE INTO PUBLICLY OWNED                                   25,500
                          TREATMENT WORKS                                                                                          max lbs/day                          '

          13. DISPOSAL OF WASTE CONTAINING THE SELECTED SUBSTANCE                              V           -                                    V
                                LOCATION OF FINAL          PHYSICAL        DISPOSAL       QUANTITY OF SELECTED
                                  DISPOSAL SITE             STATE          METHOD          SUBSTANCE DISPOSED V                                 FOR DEP USE
                                NAME AND ADDRESS           TABLE A         TABLE 8                (Ibs)
                                                                                      Solidified spill                                                                  V
           i.Pitt-Consol Chemical Co.                       W-01           M-98       materials are remov d
                                                                                      and burned for heat                                                       -   `.

                                                                                      contaminated materi 1s
               2                                                                      generated in 1978
                                                                                      were stored in drum                                               2



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                        TABLE A                                                            TABLE B
                    PHYSICAL STATE' '      •--                                        DISPOSAL METHODS
                    W-01 Solid                           M-01 Composting              M-07 Land Burial                       Kt-13 Surface Water
                    W-02 Liquid                          M-02 Evaporation             M-O8 Land Spreading                    M-14 Subsurface System
                    W-03 Slurry                          M-O3 Holding Tani(           M-09 Neutralization                    M-15 Pyrolysis
                    W-04 Sludge                          M-04 Incineration            M-10 Ocean                             M-16 Spray Irrigation
                    W.09 Other (specify)                 M-05 Injection Well          M-11 Recycling                         M-17 Stored On Site
                                                         M-06 Lagoon                  M-12 Sanitary Landfill                    _Qp~i1~►j(   gtfY)


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                                                             State of New Jersey
                                                     Department of Environmental Protection                                           q.,.

  PART p                                            SELECTED SUBSTANCE REPORT                   SELSUB         008 0317             J
                                                                                                                                   "17";" ~
  COMPLETE ONE FORM FOR EACH SELECTED SUBSTANCE                                                                                 FOR DEP USE
  1. Name and Location of Plant --       -..   .                                                                       1.0.
     Pitt—Consol Chemical Co.                      191 Doremus Avenue, Newark, NJ                                             O 5aI
  2. Selected Substance Name                                     CAS 11
           ASBESTOS                                                        1332-21-4                       (Lf. -
  3- Briefly Describe Its Use On The Site:
           UNKNOWN QUANTITIES CONTAINED IN PRECAST PIPING INSULATION.                                            OL
           INSULATION REMOVED ISSEALED IN LABELED POLYETHYLENEBAGS FOR
           DISPOSAL AT APPROVED SANITARY LAND FILLS.



                                                                                                                                         CHECK ONE
           COMPLETE THE FOLLOWING INFORMATION                             ENTER THE ACTUAL                         USE THE RE- I ACT- ESTI,
            FOR THE PLANT BASED ON 1978 USAGE                            OR ESTIMATED AMOUNTS                     QUESTED UNITS UAL IMATE

              4. QUANTITY PRODUCED ON SITE                                      NA       o ©G                       lbs/yr.
  >r y
              5. QUANTITY BROUGHT ONTO SITE-                                                                        lbs/yr.
  xr'                                                                           NA       o
  ~z
  s5          6. QUANTITY CONSUMED ON SITE                                      NA            v0                    lbs/yr.
  -o-Q        7. QUANTITY SHIPPED OFF SITE
                 AS (OR IN) PRODUCT                         See Item #13 belo                          0   2          lbs/yr.
              8. MAXIMUM INVENTORY                                                                                   lbs
                                                            See Item #3 above                                     I ________

              9. TOTAL STACK EMISSIONS OF                                       NA              U                     lbs/yr.
                 SELECTED SUBSTANCE
                                                                                                                    max lbs/day
                                                                                              ,off
  a           -
             10. TOTAL FUGITIVE EMISSIONS OF                                                           •              lbs/yr.
      w
                 SELECTED SUBSTANCE
                                                                                                                      max. lbs/day
                                                                                          4

             11. TOTAL DISCHARGE OF SELECTED                                                   CJ©6                   lbs/yr.
                 SUBSTANCE INTO SURFACE WATER
      tc                                                                                       O p{J                  max Ibs/day
       -
  u
  an         12. TOTAL DISCHARGE OF SELECTED-                                                 coo                     lbs/yr.
                 SUBSTANCE INTO PUBLICLY OWNED                                  NA
                 TREATMENT WORKS                                                                                      max Ibs/day
                                                                                              ©Ott

   13. DISPOSAL OF WASTE CONTAINING THE SELECTED SUBSTANCE                                                                      -
                    LOCATION OF FINAL                PHYSICAL      DISPOSAL       QUANTITY OF SELECTED
                      .DISPOSAL SITE                  STATE        METHOD          SUBSTANCE DISPOSED                               FOR DEP USE
                    NAME AND ADDRESS                 TABLE A       TABLE 8                (Ibs)

       P&M SANITARY LAND. FILL                                                50 Cubic        of
   1                                  -W-01                        M-12       asbesto  co ta'   rig
         P.O.. Box 37, North Arlingto ,                                       sera pre                                                       Jt




   3.



   4.



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              TABLE A                                                             TABLE B
           PHYSICAL STATE                                                     DISPOSAL METHODS
           W-01 Solid                              M-01 Composting            M-07 Land Burial                  M-13 Surface Water
           W-02 Liquid.                            M-02 Evaporation           M-08 Land Spreading               M-14 Subsurface System
           W-03 Slurry                             M-03 Holding Tank          M-09 Neutralization               M-15 Pyrolysis
           IV-04 Sludge                            M-04 Incineration          M-10 Ocean                        M-16 Spray irrigation
            W-09 Other (specify)                   M-05 Injection Well        M-t1 Recycling                    M-17 Stored On Sits
                                                   M-06 Lagoon                M-12 Sanitary Landfill



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             --                                            Stale of New deraey                                                            =
                                                  Department of Environmental Protection                                      zj• .
  PART 11                                        SELECTED SUBSTANCE REPORT                     SELSUB 008 0318
  COMPLETE ONE FORM FOR EACH SELECTED SUBSTANCE                                                                           FOR DFPiicF
  1. 'Name and Location of Plant ..                                                                               LO.
    Pitt—Consol Chemical Co., 191 Doremus Avenue, Newark, NJ
  2. Selected Substance Name                 CAS H
                      TOLUENE                                             10$-88-3                        10-         10B           B         3
  3. Briefly Describe Its Use On The Site:

              TOLUENE PRESENT AS -A CONTAMINANT IN OFF—SPEC PHENOL PURCHASES
              PHENOL WOULD BE SUBSEQUENTLY UPGRADED BY THE REMOVAL OF THE                                                  C
                                                                                                                           j —      f ( .
              TOLUENE IN A BATCH DISTILLATION PROCESS.



                                                                                                                                    CHECK ONE
       • COMPLETE THE FOLLOWING INFORMATION                            ENTER THE ACTUAL                         USE THE RE-  ACT- ESTI
          FOR THE PLANT BASED ON 1978 USAGE                           OR ESTIMATED AMOUNTS                     QUESTED UNITS UAL MATE

               4. QUANTITY PRODUCED ON SITE                                            000()                    Ibs/yr.

               5. QUANTITY BROUGHT ONTO SITE .                                                                  Ibs/yr.
  ts
  Q5           6. QUANTITY CONSUMED ON SITE                                            0000                     lbs/yr.
                                                                                                                    y                                 -
                                                                             NA
  No                         Y     EOFF SITE
                  -   ASORIIN) PRODUCT                                       NA        0000                -    Ibs/yr.                       -
               8. MAXIMUM INVENTORY                                                                             Ibs


                  9. TOTAL STACK EMISSIONS OF                                              (DQCI                lbslyr.
       r„            SELECTED SUBSTANCE
                                                                                                    .0o         max Ibs/day
  tc~                                                                                          6
  QN
              10. TOTAL FUGITIVE EMISSIONS OF                                                                   Ibs/yr.                           '
                 -SELECTED SUBSTANCE -                                       3000
                                                                                  30                            max lbs/day                   X

  rc          11. TOTAL DISCHARGE OF SELECTED                                NA            t?©                  Ibs/yr.
  ut W            SUBSTANCE INTO SURFACE WATER
  3a                                                                         NA             gi p -              max lbs/day
  ,u z                                             _
              12. TOTAL DISCHARGE OF SELECTED-                               10                                 lbs/yr.
       v          SUBSTANCE INTO PUBLICLY OWNED                                                                                               R
                  TREATMENT WORKS
                                                                             0. 1                               max Ibs/day                       '

   13. DISPOSAL OF WASTE CONTAINING THE SELECTED SUBSTANCE
                       LOCATION OF FINAL          PHYSICAL      DISPOSAL       QUANTITY OF SELECTED -
                         DISPOSAL SITE             STATE        METHOD          SUBSTANCE DISPOSED                        FOR DEP USE
                       NAME AND ADDRESS           TABLE A       TABLE 8                (Ibs)


   1.                           NA



   2.


   3.                                                                                                                           -




   4.




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                TABLE A                                                        TABLE 8
            PHYSICAL STATE            `                                    DISPOSAL METHODS
            W-OI Solid                          M-01 Composting            M-07 Land Burial
            W-02 Liquid                                                                                   M-13 Surface Water
                                                M-02 Evaporation           M-06 Land Spreading            M-14 Subsurface System
            W-03 Slurry                         U-O3 Holding Tank          M-09 Neutralization            M-15 Pyrolysis
            W-04 Sludge                         M-04 Incineration          M-10 Ocean                     M-16 Spray Irrigation
            W-09 Other (specify)                M-05 Injection Well   .    M-11 Recycling                 M-17 Stored On Site
                                                N-OS Lagoon                M-12 Sanitary Landfill


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                                                                      nenlal Cl Company
                                                                 '51 Ouremia Avenue
                                                                     ark, Nev. _'arsey 07105
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                      if :•,u requ._e further data or c--arificition, feel
                      free to contact William Revelt at Extension 4u.

                      Si        1y,



                      Harry D. Garri6on
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                                                     PITT—CONSOL CHEMICAL CO.
                                                     191 DOREMUS AVE                                                                                                                                                                              SELSUB                        008 0320
                                                     NEWARK, N.J.     07105




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                                                                               PITT—CONSOL CHEMICAL CO.
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                   INDUSTRIAL SURVEY INSPECTION REPORT


   I.   General Information

        a.   Company Name          ,      _                         ~, ,       cti

        b.   Address : /9/_                   (l /   ,                 County: L S -- --

        C.                                                                                                               2
        d.

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  II.   Selected     Substance         1 O Ml GCi\                                        Nc~~
        a.   Raw Materials                                            Method recieved/storage




        b.   By products                                              Storage                    `"'    -j       %+mss


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        C.   Final    Products                                        Storage/Method shipped,,,




 III.   Air Emissions

        a.   Process                          type of control                             waste generated

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       IV.    Waste Water Discharges

              a.   Discharg


                   Pretreatment_/

              b.   Direct Discharges    /L   4
                    Sources
                    Treatment

              c.   Discharges to ground water




         V.   Solid Waste

              a.   On site disposal

                   Lagoon42/4


                   Landfill42/4



                   Others


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  VI.   Inspectors     Recommc .i dat ions             213d,'JJ       a~          ~.i

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 VII.   Diagrams or Site      Sketch;        B   aC - e.




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